         Case 19-31634 Document 33 Filed in TXSB on 07/17/19 Page 1 of 10



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

IN RE:                                             §
                                                   §       CASE NO. 19-31634
Eduardo Everett                                    §       Chapter 7
Gloria Everett                                     §
                                                   §       CHIEF JUDGE DAVID R. JONES
         DEBTORS                                   §


    CHAPTER 7 TRUSTEE’S APPLICATION TO EMPLOY BK GLOBAL REAL ESTATE
  SERVICES PURSUANT TO 11 U.S.C. §§ 327 AND 328 (a) TO LIST REAL PROPERTY FOR
                                      SALE


         THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
         OPPOSE THIS MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
         PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
         AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY OF THE MOVING
         PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
         DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
         MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE,
         THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU
         OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
         ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
         MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE MOTION
         AT THE HEARING.

         REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.


         Randy W. Williams, chapter 7 Trustee of the above captioned estate (the “Trustee”) files this

Application to Employ BK Global Real Estate Services Pursuant to 11 U.S.C. § 327 to List Real Property

for Sale (the “Application”) and states as follows:

                                          RELIEF REQUESTED

         1.      The Trustee seeks and order to employ BK Global Real Estate Services (“BK Global”) to

list for sale of the Real Property (as more specifically identified below).

                                      RELEVANT BACKGROUND

         2.      Randy Williams is the duly qualified and acting chapter 7 Trustee of the bankruptcy estate

of Eduardo Everett and Gloria Everett.
         Case 19-31634 Document 33 Filed in TXSB on 07/17/19 Page 2 of 10



        3.        An asset of the bankruptcy estate is real property located at 3116 KENTA DR MARRERO,

LA 70072, and which is further described as follows (the “Real Property”):

        Parcel Number: 0-XX-XXXXXXX
        City/Municipality/Township: AMES NO2 - AREA
        Census Tract: 220510280.003034
        Carrier Route: C014
        Abbreviated Description: DIST:43 CITY/MUNI/TWP: AMES NO2 - AREA LOT 11 SQ 2 OAK
        COVE EST 10951707

        4.        The Debtors listed the Real Property on their schedules as having a value of $143,127.00.

See Dkt. No. 16, Schedule A/B.

        5.        The Debtors listed the following encumbrances (the “Secured Claims”) on the Real

Property:

        a) First Mortgage: Standard           Mortgage    Corporation     in   the   amount    of   $94,022.00
           See Dkt. No. 1, Schedule D.

        6.        The Debtors have not declared the Real Property as exempt. See Dkt. No. 16, Schedule C.

        7.        Based upon the scheduled value and Secured Claims related to the Real Property provided

by the Debtors, there is equity in the Real Property.

                                   BASIS FOR RELIEF REQUESTED

        8.        The Handbook for Chapter 7 Trustees published by the Executive Office of the United

States Trustee, states on pages 4 – 14 under Section 9 “Sales of Assets” (a) General Standards “A trustee

may sell assets only if the sale will result in a meaningful distribution to creditors. The Section further

states “the Trustee may seek a “carve-out” from the sale of the property at issue if the “carve-out” will result

in a meaningful distribution to creditors. Further, the Section states “The trustee must also consider whether

the cost of administration or tax consequences of any sale would significantly erode or exhaust the estate’s

equity interest in the asset.”

        9.        BK Global has expertise and experience in assisting trustees in facilitating the sale of real

property for the benefit of creditors. BK Global proposes to provide the following services (the “Services”)

to the Trustee:
           Case 19-31634 Document 33 Filed in TXSB on 07/17/19 Page 3 of 10



        a) List the Real Property for sale to obtain offers for the Trustee, whereby if the Trustee accepts
           an offer, the Real Property may be sold pursuant to 11 U.S.C. § 363;

        b) Obtain the release and waiver of all secured claims against the estate with respect to the Real
           Property (including any deficiency claims resulting from the proposed sale) as applicable;

        c) Establish a meaningful carve out for the benefit of allowed unsecured creditors of the Debtors’
           estate and the payment of administrative claims of the Estate including, but not limited to, (a)
           a six percent (6%) real estate brokerage commission (and reimbursement of any out-of-pocket
           expenses) to BK Global and any associated real estate professional(s); (b) statutory
           compensation for the Trustee; and (c) and other administrative claims by other professionals
           employed by the Trustee (collectively “Administrative Costs”), all to be paid from the proceeds
           of the sale;

        d) Make certain the amount of the carve out is clearly set out in the motion to sell the Real Property
           pursuant to 11 U.S.C. § 363;

        e) Assist with the coordination of the sale and closing transaction of the Real Property.


        10.      A separate motion to approve the sale of the Real Property will be filed seeking the

approval of the settlement terms and conditions of the subject purchase and sale transaction including the

following:

        a) a carve out from the sale proceeds of the Real Property for the payment of title services and
           closing costs;

        b) a carve out from the sale proceeds of Administrative Costs ;

        c) a carve out from the sale proceeds of an amount that will result in a meaningful distribution to
           the estate for the benefit of unsecured creditors of the bankruptcy estate.

        11.     The Trustee believes that the highest and best value for the Real Property will be generated

through a sale in which the Real Property is widely marketed to the public and offered at the highest price

that the market will bear.

        12.     The Trustee submits that the terms of employment and compensation as set out in this

application and the listing agreement, attached as Exhibit A, are reasonable in light of the extensive

experience of BK Global and any associated real estate professional, and the nature of the services they

provide.
         Case 19-31634 Document 33 Filed in TXSB on 07/17/19 Page 4 of 10



        13.      The terms of the listing agreement and this Application provide that BK Global and listing

agent are only entitled to payment if and when (a) a motion to approve the sale is granted and (b) the sale

of the Real Property closes, in which event BK Global and listing agent will receive a six percent (6%) real

estate brokerage commission and obtain reimbursement of any out-of-pocket expenses. Therefore, BK

Global will not be entitled to any fees if the Court does not grant the motion to approve the sale of the Real

Property.

        14.      In no event will the bankruptcy estate have any obligation to pay BK Global or any

associated real estate professional(s) for their services, or to pay for the customary title services and closing

costs if the subject transaction does not close.

        15.      BK Global attested that it is a disinterested person within the meaning of Section 101(14)

of the Bankruptcy Code and Federal Rule of Bankruptcy Procedure 2014 and 2016(a). Attached hereto as

Exhibit B is an Affidavit of Disinterestedness of BK Global. BK Global also attests, pursuant to

Bankruptcy Rule 2016, that it shall not split or share its fee with any individual or entity other than listing

agent or a buyer’s agent, if applicable.

        WHEREFORE, based upon the foregoing, the Chapter 7 Trustee seeks the Court’s authority to

retain BK Global in this case and requests that the Court approve the retention of BK Global on the terms,

including but not limited to compensation arrangement, set forth in the listing agreement and this

application, pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code; and for such other and

further relief as the Court determines is appropriate.

                                                            Respectfully submitted,

                                                            /s/ Randy W. Williams by permission MDM
                                                            Randy W. Williams, Trustee
                                                            7924 Broadway, Ste 104
                                                            Pearland, Texas 77581
                                                            (281) 884-9262
                                                            rww@bymanlaw.com
                                                            CHAPTER 7 TRUSTEE

        /s/ Marc Douglas Myers
        ___________________________
              Case 19-31634 Document 33 Filed in TXSB on 07/17/19 Page 5 of 10



             Marc Douglas Myers
             Ross, Banks, May, Cron & Cavin, P.C.
             SBN 00797133
             7700 San Felipe, Suite 550
             Houston, Texas 77063
             (713) 626-1200; (713) 623-6014 fax
             mmyers@rossbanks.com
             COUNSEL FOR THE TRUSTEE

                                        CERTIFICATE OF SERVICE
         I hereby certify that on July 18, 2019, a true and correct copy of the foregoing was sent via regular
US mail to the Debtor(s), counsel for the Debtor(s), the Trustee, counsel for the Trustee, the US Trustee,
all creditors and all persons requesting notice as set forth below unless otherwise served by the CM-ECF
system.
                                                            /s/ Marc Douglas Myers
                                                            ___________________________
                                                            Marc Douglas Myers
Ford Motor Credit Company LLC            15260 Farm to Market Rd 529                Des Moines IA 50328-0001
5120 Woodway, Suite 9000                 Houston, TX 77095
Houston, TX 77056-1725                                                              Woodlands Specialty Hospital
                                         Internal Revenue Service                   P.O. Box 17009J
First Community Credit Union             Centralized Insolvency Operations          Belfast, ME 04915-4033
c/o Dominique Varner                     P.O. Box 7346
Michael Weems                            Philadelphia PA 19101-7346                 Eduardo U. Everett
1201 Louisiana, 28th Floor                                                          21735 Colter Stone Dr.
Houston, Texas 77002                     LVNV Funding, LLC                          Spring, TX 77388-6905
                                         Resurgent Capital Services
New Residential Mortgage LLC             P.O. Box 10587                             Gloria R. Everett
undeliverable                            Greenville, SC 29603-0587                  21735 Colter Stone Dr.
                                                                                    Spring, TX 77388-6905
PINGORA LOAN SERVICING, LLC              Lincoln Automotive Financial Service
c/o Dominique Varner                     Attn: Bankruptcy                           Randy W Williams
Michael Weems                            P.O. Box 542000                            7924 Broadway, Suite 104
1201 Louisiana, 28th Floor               Omaha, NE 68154-8000                       Pearland, TX 77581-7933
Houston, Texas 77002
                                         Martine and Sidney Wicks                   Yvette V Recio
PRA Receivables Management, LLC          3116 Kenta Dr.                             26310 Oak Ridge Dr., Suite #4
P.O. Box 41021                           Marrero, LA 70072-5914                     The Woodlands, TX 77380-3777
Norfolk, VA 23541-1021
                                         Rausch,Sturm, Israel, Enerson &Hornik, L
Synchrony Bank                           15660 N. Dallas Parkway, Suite 350
c/o PRA Receivables Management, LLC      Dallas, Texas 75248-3344
P.O. Box 41021
Norfolk, VA 23541                        Re Max Real Estate Partners, Inc.
                                         4041 Veteran's Blvd. Suite 100
AMEX                                     Metairie, LA 70002
Correspondence/Bankruptcy
P.O. Box 981540                          Sandy Leisure Trust I
El Paso, TX 79998-1540                   P.O. Box 96058
                                         Las Vegas, NV 89193-6058
Cenlar
P.O. Box 77404                           Standard Mortgage Corp
Ewing, NJ 08628-6404                     701 Poydras St Ste 300
                                         New Orleans, LA 70139-0096
Chase Card Services
Attn: Bankruptcy                         Syncb/Home Design
P.O. Box 15298                           Attn: Bankruptcy
Wilmington, DE 19850-5298                P.O. Box 965060
                                         Orlando, FL 32896-5060
Citicards Cbna
Citi Bank                                US Trustee
P.O. Box 6077                            Office of the US Trustee
Sioux Falls, SD 57117-6077               515 Rusk Ave
                                         Ste 3516
Client Services/Synchrony Home Design    Houston, TX 77002-2604
3451 Harry S. Truman Blvd.
Saint Charles, MO 63301-4047             We Florida Financial
                                         Attn: Bankruptcy
Eduardo A. Everett                       P.O. Box 14548
21735 Colter Stone Dr.                   Fort Lauderdale, FL 33302-4548
Spring, Texas 77388-6905
                                         Wells Fargo Bank Na
First Community CU                       1 Home Campus
Attn: Bankruptcy                         Mac X2303-01a
         Case 19-31634 Document 33 Filed in TXSB on 07/17/19 Page 6 of 10



                            BKGlobalRealEstateBrokerageListingAgreement


        This Real Estate Brokerage Listing Agreement (“Agreement”) is between Randy Williams

(“TRUSTEE”)andBKGlobalRealEstateServicesLLC(“BROKER”)


        AuthoritytoSellProperty:TrusteegivesBrokertherighttobetheEXCLUSIVEBROKERinthesale

oftherealandpersonalproperty(collectively“Property”)describedbelow:


                 3116KENTADRMARRERO,LA70072


        UponfullexecutionofacontractforsaleandpurchaseofthePropertyandcourtapproval,all

rightsandobligationsofthisAgreementwillautomaticallyextendthroughthedateoftheactualclosing

ofthesalescontract.TrusteeandBrokeracknowledgethatthisAgreementdoesnotguaranteeasale.

ThisPropertywillbeofferedtoanypersonwithoutregardtorace,color,religion,sex,handicap,familial

status,nationalorigin,oranyotherfactorprotectedbyfederal,state,orlocallaw.Trusteecertifiesand

representsthatshe/he/itislegallyentitledtoconveythePropertyandallimprovements.


        Price:Thestartinglistingpriceofthepropertywillbe:$125,000.Iftherearenoacceptableoffers

after15days,thelistpricewillbereduced5%andwillreoccurevery15daysuntilthelistingexpiresorif

anacceptableofferisreceived.


        BrokersObligations:BrokerwillassisttheTrusteetomakecommerciallyreasonableeffortsto

procuretheconsentandagreementoftheseniormortgagee(“SecuredCreditor”),ifnecessaryduetoa

shortsaleorinsufficiencyofthenetproceedsofsale,to:


procureapurchaserfortheRealPropertywiththebestqualifiedofferduringapublicsale.

    a) ReleaseitslienwithrespecttotheProperty;and

    b) Agreetoa11U.S.C.§506surchargeto(x)payourfeeandexpenses,anycommissionpayableto
       the local real estate broker and all other fees and expenses associated with the sale, and
       (y)provideacarveͲoutforthebenefitofallowedunsecuredcreditorsoftheestate.
         Case 19-31634 Document 33 Filed in TXSB on 07/17/19 Page 7 of 10



BrokersDuties:Brokerdutieswillincludebutwillnotbelimitedtothefollowingservices;


    x   Researchingtherealestate,runningtitleandliensearchestoidentify creditorsforresolutionand
        anytitleissues.
    x   Advisingthetrusteeofanyissuesanddiscusspotentialresolutions.
    x   Conductingtheresolutionsunderthetrustee’sdirection.
    x   Assistingthetrusteeinthecollectionofdocumentsandinformationforemployment.
    x   Makingandidentifyingthecorrectcontactwithanysecuredcreditorswhereapplicable.
    x   Notifyingthesecuredcreditoroftheupcomingsaleandidentifyingservicerrequirements.
    x   Assistingthetrusteeinestablishingmarketvalueandnegotiatingwiththe Serviceranacceptable
        salespriceandestablishingacarveͲout,ifnecessary.
    x   Developmentofonlinemarketing,emailcampaignandfullnationwidemarketingservices.
    x   Conductinganonlinesale.
    x   UseoftheBKGlobaltechnologyplatform.
    x   Assistthetrusteeinthereviewofalloffersandcoordinatethefinal documentationoftheoffer
        acceptedbythetrustee.
    x   Managingcontractrequirementssuchasinspections,appraisalsandHOAapplications.
    x   Coordinatingclosingsandassistingthetrusteeinthecollectionofrequired information for court
        filing.
    x   Closingthetransactionandensuretheestatehasreceivedtheappropriatefunds.

    LocalListingBrokersObligations:BrokerwillselectaLocalListingBrokertocoͲlistthepropertyand

provide limited services. Trustee will retain both Broker and the Local Listing Broker to market the

Propertyforsaletothepublicunderaseparatelistingagreement.


    LocalListingBrokersDuties:LocalListingBrokersdutieswillincludebutwillnotbelimitedtothe

followingservices;


    x   Inspectingthepropertyandcompletingabroker’spriceopinion.
    x   Listingthepropertyinthemultiplelistingservice(MLS).
    x   Postingaforsalesignintheyardandcoordinatingshowings.

    TrusteeObligations:InconsiderationofBroker’sobligations,Trusteeagreesto:


    a) CooperatewithBrokerincarryingoutthepurposeofthisAgreement
    b) AssisttheBrokerasneededinobtainingthekeystothePropertyandmakethePropertyavailable
       forBrokertoshowduringreasonabletimes.
    c) Fileallcourtmotionsanddocumentsinatimelymannertoensureasuccessfulsale.
    d) AdviseBrokerofanyspecialissuesourcourtrequirements.
         Case 19-31634 Document 33 Filed in TXSB on 07/17/19 Page 8 of 10



    Compensation:6%RealEstateCommissionwillbepaidoutoftheproceedsoffthesaleandisdue

andpaidatclosing.ThecommissionwillcoverthecostsoftheBroker,LocalListingBrokerandBuyers

Broker.Thecommissionwillbepaidasfollows:


    x   2%Broker
    x   2%LocalListingBroker
    x   2%BuyersBroker
    TermofAgreement:ThetermofthisAgreementwillcommencewhensignedbytheTrusteeandthe

court approves it.  This Agreement will automatically terminate upon the closing of the sale of the

Property, or it may be terminated by either party for any or no reason after 180 days from

commencement. In addition, this Agreement will be terminated if the Trustee files a Report of No

Distribution,filesaNoticeofAbandonmentofthesubjectproperty,orsubmitsaTrustee’sFinalReportto

theOfficeoftheUnitedStatesTrustee.


        Broker acknowledges and agrees that (a)the Trustee is not executing this Agreement in an

individualcapacity,butsolelyastrusteeoftheestate,(b)Brokerdoesnotandwillnothaveanyrightor

claimwithrespecttotheestateand(c)Brokerssolerecourseforpaymentofrealestatecommission,fees

andexpenseswillbepaidatclosingwithcourtapproval.


        This Agreement constitutes our complete agreement on this matter and supersedes all prior

agreementsandrepresentationsconcerningthesame.Itmaynotbemodifiedoramendedexceptina

writingsignedbybothparties.


        


        


        


                           (theremainderofthispageisleftintentionallyblank)
Case 19-31634 Document 33 Filed in TXSB on 07/17/19 Page 9 of 10
Case 19-31634 Document 33 Filed in TXSB on 07/17/19 Page 10 of 10
